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                           U NITED S TATES B ANKRUPTCY C OURT                                                REQUEST FOR PAYMENT OF
                                 D ISTRICT OF N EW J ERSEY                                                   ADMINISTRATIVE EXPENSE
In re:                                                      Chapter 11
☐ Christopher & Banks Corporation
   (Case No. 21-10269)                                      Case Number: 21-10269 (Main Case)
☐ Christopher & Banks Inc. CB Wind-Down, Inc.
   (Case No. 21-10268)
☐ Christopher & Banks Company
   (Case No. 21-10270)
NOTE: This form should not be used for an unsecured claim arising prior to the commencement of
the case. In such instances, a proof of claim should be filed.

Name of Creditor: Wind Creek Bethlehem Retail, LLC          ☐       Check box if you are aware
(The person or other entity to whom the debtor owed                 that anyone else has filed a
money or property.)                                                 proof of claim relating to your
                                                                    claim. Attach copy of
Name and Addresses Where Notices Should Be Sent:                    statement giving particulars.
William P. Rubley, Esq.                                     ☐       Check box if you have never
                                                                    received any notices from the
COOPER LEVENSON, P.A.                                               bankruptcy court in this case.
1415 Marlton Pike East                                      ☐       Check box if the address differs
Cherry Hill Plaza, Suite 205                                        from the address on the
Cherry Hill, NJ 08034                                               envelope sent to you by the             THIS SPACE IS FOR COURT USE ONLY
                                                                    court.
ACCOUNT OR OTHER NUMBER BY WHICH CREDITOR                                Check here if this request:
IDENTIFIES DEBTOR: 00000038-1                                            ☐ replaces a previously filed request, dated:
                                                                         ☐ amends a previously filed request, dated:
1. BASIS FOR CLAIM
                                                                                ☐ Retiree benefits as defined in 11 U.S.C. §1114(a)
        ☐           Goods Sold                                                  ☐ Wages, salaries and compensations (Fill out below)
        ☐           Services performed
        ☐           Money loaned                                                Provide last four digits of your social security number ____________
        ☐           Personal injury/wrongful death
        ☐           Taxes
        ☐           Other (Describe briefly) Lease

2. DATE DEBT WAS INCURRED: On or after January 13, 2021

3.    TOTAL AMOUNT OF REQUEST AS OF ABOVE DATE: $2,901.84____________________________
☐ Check this box if the request includes interest or other charges in addition to the principal amount of the request. Attach itemized statement of all
interest or additional charges.
4. Secured Claim
☐ Check this box if your claim is secured by collateral (including a right of
setoff).
     Brief Description of Collateral:

      ☐ Real Estate                    ☐ Motor Vehicle
      ☐ Other (Describe briefly) ___________________________

      Value of Collateral: $

☐ Check this box if there is no collateral or lien securing your claim.
5. Credits: The amount of all payments have been credited and deducted for the purposes of                     T HIS S PACE I S F OR C OURT U SE O NLY
making this request for payment of administrative expenses.
6. Supporting Documents: Attach copies of supporting documents, such as purchase orders,
invoices, itemized statements of running accounts, contracts as well as any evidence of perfection
of a lien.
      DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain.
      If the documents are voluminous, attach a summary.
7. Date-Stamped Copy: To receive an acknowledgment of the filing of your request, enclose a
self-addressed envelope and copy of this request.
Date: 7/15/2021                   Sign and print below the name and title, if any, of the creditor
                                  or other person authorized to file this request (attach copy of
                                  power of attorney, if any).

                                  /s/ William P. Rubley______________________________________

     Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.
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